     Case: 1:19-cv-02204 Document #: 42 Filed: 07/31/19 Page 1 of 1 PageID #:150

                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.1
                                 Eastern Division

Anthony Jakes
                                   Plaintiff,
v.                                                     Case No.: 1:19−cv−02204
                                                       Honorable Manish S. Shah
Kenneth Boudreau, et al.
                                   Defendant.



                     ORDER REFERRING A CIVIL CASE TO THE
                       DESIGNATED MAGISTRATE JUDGE



       Pursuant to Local Rule 72.1, this case is hereby referred to the calendar of
Honorable Sheila M. Finnegan for the purpose of holding proceedings related to:
discovery supervision. (psm, )Notices mailed.




Dated: July 31, 2019
                                                                         /s/ Manish S. Shah
                                                               United States District Judge
